Case 3:08-cr-30170-DRH-CJP     Document 534       Filed 01/10/12   Page 1 of 2   Page
                                   ID #1576



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

MARK CLARKE and
DAVID CLARKE,

Defendants.                                                No. 08-30170-DRH

                                    ORDER

HERNDON, Chief Judge:

      Pending before the Court is the Government’s January 9, 2012 motion to

continue trial as to Mark Clarke and David Clarke (Doc. 533). The government

moves to continue the trial as one co-defendant, Sandra Clarke, remains a fugitive

and her whereabouts are unknown. Further, the government also moves to continue

the trial as Mark Clarke and David Clarke pleaded guilty to an Information in case

11-CR-30152-DRH and are scheduled to be sentenced on January 27, 2012 and

February 24, 2012, respectively.    The motion also states that after the Court

sentences Mark Clarke and David Clarke in 11-CR-30152-DRH, the government will

move to dismiss them as defendants from this case.

      Clearly, the Court finds that under the circumstances a continuance is

warranted. Pursuant to 18 U.S.C. § 3161(h)(3)(A), the Court GRANTS the motion

to continue as to defendants Mark Clarke and David Clarke (Doc. 533). The Court

CONTINUES the jury trial scheduled for January 23, 2012 to Monday, March 12,

                                    Page 1 of 2
Case 3:08-cr-30170-DRH-CJP       Document 534       Filed 01/10/12   Page 2 of 2   Page
                                     ID #1577



2012 at 9:00 a.m.

      As noted in previous Orders, co-defendant Sandra Clarke still remains a

fugitive and has not been arraigned. Because the Speedy Trial clock does not begin

to run until the last co-defendant is arraigned, the 70-day window for conducting this

trial has not yet come into play under the Speedy Trial Act. See United States v.

Larson, 417 F.3d 741, 745 n.1(7th Cir. 2005)(“In the typical joint trial, the

SpeedyTrial clock begins when the last co-defendant is arraigned.”)(citing United

States v. Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995); Henderson v. United

States, 476 U.S. 321, 323 n.2 (1986). Thus, there is no need to account for excluded

time due to trial delays, such as when a trial is continued. Further, once Sandra

Clarke is arraigned, the Court will set her case for trial.

             IT IS SO ORDERED.

             Signed this 10th day of January, 2012.
                                                                          David R. Herndon
                                                                          2012.01.10
                                                                          09:41:17 -06'00'
                                                       Chief Judge
                                                       United States District Court




                                      Page 2 of 2
